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j Case: 1:04-Cv-03904 Document #: 178 Filed: 10/21/05 Page 1 of 13 Page|D #:1962

 

IN 'I`HE UNITED STATES DISTRICT COURT
F()R THE NGRTHERN DISTRICT DF ILLINOIS
EASTERN DIVISION

BlLLIE RAY LEWIS, as Brother, Next Ft‘icnd, )
and Special Administrator of CHRISTOPHER )
HlCl~’LS, deceased, )
)
Plaintiff, )
)
V. ) No. 04 C 3904
)
ClTY Cll*` CHICAG(), and CHICAGU POLTCE ) lodge Conlon k
OFFTCERS L. SC)TO, Star 3403, A. PENA, Star ) J , [L
13513, ROBERT ARNC)LTS, Star 19998, and ) m 60
BRIAN DEVAN, Star 3871, ) OC}. 2
l l
Defendants. ) QE'H'L£'/,ME{ W 2005
' -\5`. 'DO
MSDPIC§§WS
T APPRo\/E EMENT OU/?;~

Plaintiff, Billie Ray Lewis, hy his attorneys, Sniith, Coffey, and Alexander, respectfully
requests that this Court approve the distribution of proceeds as outlined in the attached Exhibit
A_

In support of this motion, plaintiff attaches the affidavits of Billie Ray Lewis and
Merlenc Wynn-Hicks, and states as follows:

1. The plaintiff, Eillie Ray Lewis, has agreed to accept the sum of 335 million to Scttlc
his wrongful death claim against the City of Chicago and certain Chicago police officers relative
to the death of his hrother, Christopher Hici{s.

2. The decedent, Christopher Hicks’ purported onlj,r heir at law is his Widow, Merlene
Wynn»Hicks, who has nominated Billie Ray Lcwis to be the independent administrator of

Christopher Hicks’ estatc.

 

 

 

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3. l‘v'[erlene Wynn-Hiclcs desires that Billie Ray Lewis be paid an administrator’s fee
for his time and efforts in prosecuting this lawsuit, in the amount of $15,000.

4, Certain members of Christopher Hicks’ immediate family have raised issues of
Whether Merlene Wynn-Hiclcs is the proper heirrat-law of Christopher Hiclcs, and Merlene
Wynn-Hicks wishes to settle any and all claims that she is not the proper heir of Christopher
Hicks.

5. Merlene Wynn~Hielcs and all immediate family members of Christopher Hicks, to
settle all possible claims of heirship, have agreed to the following split of the net wrongful death
proceeds of the settlement in this ease: 20% to Merlene Wynn-Hiclcs, 20% to the decedent’s
mother, Florence Hicks, with the remaining 60% to be split evenly by Christopher Hicks’ eleven
siblings and half~siblings, as reflected in the separate Farnily Settlement Agreement.

6. The plaintiff and Merlcne Wynn-Hicks have approved the attached Exhibit A list of
litigation expenses and attorneys’ fees.

7. None ol`the deeedent’s next of kin or siblings are minors.

3. All final expenses and debts of the decedent have been paid or provided for.

Wl-IEREFORE, plaintiff respectfully requests that this Cout't approve the distribution of
proceeds as outlined in the attached Exhibit A.

Respeetfully submitted,

EILLIE RAY LEWIS

Mé~r-

By: One of his attorneys

 

 

", Case: 1:04-Cv-O3904 Document #: 178 Filed: 10/21/05 Page 3 of 13 Page|D #:1964

Daniel S. Alcxander

Christopher Smith

Si'VilTl-l, COFFEY dc ALEXANDER
119 North Peoria Street

Suite 3A

Chicago, lllinois 60607
312-850-2600

 

 

 

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IN THE UNITEI) STATES DISTRIC'I` COURT
FOR THE NORTHERN DISTRIC'[` OF ]LLINOIS

EASTERN DIVISION
BILLIE RAY LEWIS, )
Plaintiff, § No. 04 C 390-4
v. l J udge Conlon
CITY OF CHICAGO, et al., )) Magist:rate .lndge Schenkier
Defendants. §

EXHIBIT A » EXPENSES

FINAL EXPENSES ()F CHRIS"I`OPHER HICKS

 

City of Chicago EMS services $ 366.00

Northwestern Memorial Hosp. Med bill $ 2122.20
'l`otal Cost = $ 2488.20

]EXPERT WI'INESS E.XPENSES

Srrdth Econornics Group, Ltd (_."ase review/'report preparation $ 3765.00
Messenger services $ 6.60
Review of Dcfcnse Econ report § 295.00
Total Cost = $ 4066.60

Sullivan & Associates Case review/report preparation $13,200.00
Deposition Pr¢Paraticn

Dr. Shalcu 'l`eas Aut'opsy $ 2,650-00

Dr. .lesse Hall Review of records/Depositions $ 5400.00
Review of recordsf[)epositions $ 3000.00
Review of mccrdstepositiens $ 1600.00
Review of records/Video Dep $ 6300.00
'l`otal Cost = $16,30[|.|]0

National J`ustice Consultants Inc. Deposition of Defense expert $ 1500.0{}

 

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Dr. Charles Wetli
Jarnes O’Donnell

Geny L. Suehanel<

COURT RE.PORTER EXF'EN SES

 

Patti Blair Court R_eporters, PC

Transcript of Louis Sote

Transcript of Robert Arnolts &. Artcmio Pena
Transeript of An'emio Pena 2 & Brian De Van
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chorter Appearance on Michael Bosec
Reporter Appearanec on Kev'ni Byrne
Transcript of chlcey Galbreth

Reporter Appearance on Det. Galbreath
Transcript of Kcvin Byrne

Transcript of Diekman dc Azt]an

Reporter Appearance on Patrick MeNulty
Reporter Appcarance on Foster & Connolly
Transcript of Patrick McNulty & Sidney Davis
Transcript of Wayne Wiberg dc Jaekic Campbell
Transcript of Arny Braley 3a lLori Lightfoot
Reporter Appearanee on Gerry Suchanek
Reporter Appearanee on Dr. J. O’Dormcll
Transcript ofMary Conley

Transcript of Foster & Connolly

Transcript of Dr. J. O'Donnell

Transcript of Michael Mealer

Transeript of Ronald Sodini

Ffranseript of James Clen'u:nons

’l`ranscript of Lori Lightfoot 2

Transcript of Vince Nyenke

Transcript of Peree Lawson

Reporter Appearance on Beretta Lewis
'l`ranseript of Beretta chvis

Reporter Appearance on }'_ilcnia I-Iudson
Transcript of Gerry Suehanek

'franseript of Elenia Hudson

Transeript of J esse I-Iall

 

Deposition of Defense expert
Deposition of Dcfcnse expert

Deposition of Defense expert

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Urlaub. Bowen dc Associatcs. Inc.

Transcript of Billie Ray Lewis
Transcript of Andre Lewis
Transcript of Dr. Clare Curdiffe
Transeript of Dr. Clare Cunliffe 2
Transeript of Laura Soria
Transcript of Rachel Perry
Transcript of Kevin Kendall
Transeript of Glenn Sn'tith
Transcript of Dr. Jesse Hail
Transcript of Stan Smith
Transeript delivery fees

CenM Conrt Reportersq hle.

Transeript of Narris Lewis
Transeript of Clarenec Chapman
'l`ranseript of Mcrlene Wynn-Hiclcs

Associatcd Rpportcrs of chada

 

Transcript of John Sullivan
Transcript of lohn Sullivan 2

ln Re Reporting Service

Transcript of Florence Hicks
Dep of Ardis Lewis, Flerence Hieks & lean Combs

M & M Rgp£rting, Ine.

Transcript of Charles Wetli, M.D.

BBHQ_B_;A.I'J§M.QQUR__T_.E. XP`. ENSES

Clcrlc of the Probate Court
Probate Filing Fees 09»14~05

09-10-04
09-22-04
12-14-04
12-23 -04
12-28-04
01 -07-05
01 ~19-05
01-21-05
01»25-05
01~26-05
07~08~05

Total =

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03-02-05
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Total =

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Da.ily Law Bulletin Publication fees
Filpi & Filpi Probate Bond premium

Total =
MlSC EXPENSES
Clet‘lc of the U.S. Court
Filing Fees 06-8-04
Cook County ME 12-14~04
erays & Histology Sljdes
Trial Graphix `Maps & Enlargements 05-31-05
Advanecd Video Solutions, Inc Video Dep 06-27105
Advanced Video Solut.ions, lnc Video Dep 06»27~05
Billie Ray Lewis Admjnistrator fee

Total g
STATUTORY WITNESS FEES
I..oretta White 09-28-04
]Jebta Burton 09»28-04
Rachel Perry 07-01-05
Glenn Smith 07-01~05
Dr. Aldeen 07-01-05
Elania Hudson 05-05-05
Kevin Kendell 06-16-05
Laura Soria 06-16-05
Peree Larson 06-16-05
Ter.ry Hi.ilard 06-16¢05
Bernatta Lewis 06-16-05
Elania Hudson 06+16-05
Dr. Clare Cunliffe 06-16-05
lnv. Rios 015-1 6-05
'l`heo Jamison 06-16-05
Kjrby McMillon 06-16-05

Total I
FEDEX & DOCUMENT EX[’ENSES
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ImageStat 12-14-04 $ 45.82
Video One v copies 911 tapes 03-0'7-05 $ 67.43
Video Une ~ copies 911 tapes 03-08-05 $ 68.00
Video One ~ copies video tapes 05-10-05 $ 130.50
IRS Tax return copies 11-15-04 $ 156.00
FedEx 10»20-04 $ 86.'10
FedEx 1 0-29-04 $ 3 9.02
FedEX 1 1-03-04 $ 25.00
FedEx 1 1-03-04 $ 68.64
FedEx 01~»14-05 $ 25.00
FeclEx 01 -26-05 $ 28.89
FedEx 02-10~05 $ 50.90
FedEx 03-04-05 $ 59.26
FedEx 05-10-05 $ 38.80
In I-louse Copyiug N/C $ 00.00
Total = $ 1014.96
[NVESTIGATION EXPENSES
Investigationjprover 09'27-04 $ 125.00
tnvestigation/ Statement of Robert Biadley 10-25-04 $ 125.00
Investigation/Statement of Ericka Stewart 11~04“04 $ 125.00
' Pager I.D search 12-01-04 $ 200.00
Search for Kevin Kendall 12-08-04 $ 50.00
Canvass for Kevi_n Kendell, Here, etc. 12-10~04 $ 500.00
` Interview of Kevin Kendall/Dixmore 01 -06‘05 $ 350.00
lnvestigation! search for Michael Creasy 01~31-05 $ 250.00
Tota] = $ 1725.00
TRAVEL
Flight to Shreveport, I..A tier Hick Family Depositions 1 1-22-04 $ 603.40
Hotel cost in Shreveport 11-22-04 $ 80.47
I*`light to New Yorlc for Dr. Wetli Deposition 02-15~05 $ 255.40
New `York Conference Room fee 02-15*05 $ 210.00
Parkjng_, flood expenses in N`ew Yorlc 02-15-05 $ 82122
Flight to Los Angeles for Chapman Deposition 02-18-05 $ 206.90
Hotel cost in Los Angeles 02-18-05 $ 180.18
F light &; Hotel in llas Vegas for Sullivan Deposition 01-29-05 $ 450.00
F light to Los Angeles for Hick Family Depositions 11-09-04 $ 176.70
Travel, taxi & food expenses x 3 days 11-10“04 $ 200.00
Michael and Florence Hicks Travei to Chieago 01-06-05 $ 541 .10
Total = $ 2986.37

 

 

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OUTSIDE ATTORNEYS’ F}_"`.HS

 

Greg Garotiolo - I’robate work 01-08-05 $ 1000.00
DiMonte & Lizak - Tax/Probate 10-01-05 $ 250.00
Sinar Keldermans, Miller dc Friedrnan_, LLC - 10-13-05 $ 687.50
Tax/Probate
Total = $ 1937.50
ATTO`RNEY’S FEE
One Third of $3.5 Million $ 1,166,667.00

Smit.h, Cotfey 3a Ale‘xander

Grand Total $ 1,267,399.32

 

 

 

Case: 1:O4-Cv-O3904 Document #: 178 Filed: 10/21/05 Page 10 of 13 Page|D #:1971

IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTR]CT DF ILLINDIS
EAS'I`ERN DIVISIUN

BILLIE RAY LEWIS, as Brother, cht Friend,
and Special Administrator of CHRISTOPHER
HlCKS, deceased,

Piamirr,

v. No. 04 C 3904
CITY C|F CHICAGO, and CHICAGO POLlCE
OFI*`ICERS L. SOTO, Star 8403_, A. PENA, Star
18513, RC|BERT ARNULTS, Stat' 19998, and
BRIAN DEVAN, Star 3371,

Judge Conlon

Defendants.

\_¢"`-/W\_d'\-f'\_F`-_f'\_¢'\_¢'\-l'“\-/\_fiv`\-r’

FFI]]AVIT OF BILLI Wl

B]_LLlE RAY LEWIS, being first duly sworn on oath, deposes and states as follows:

1. 1 am the plaintiff in thc wrongful death case against the City of Chicago and certain
police officers regarding the death of my brother, Cbristopher Hicks. 1 have agreed to accept the
sum ol`$3.5 million to settle the wrongful death claim against the City of Chicago and certain
Chieago police officers relative to the death of my brother.

2. Iwas nominated to be the independent administrator of my brother’s estate by
Chn`stopher Hiclcs’ widow, Merlene Wyun-Hicks.

3. Certain members of Christopher flicks’ immediate family have raised issues of
Whether Merlene Wynn-Hieks is the proper beir-at-law of Cbristopher Hicks, and Merlene
Wynu-Hiclcs has expressed her desire to settle any and all claims that she is not the proper heir of

Christopher Hicks.

 

 

 

J
, , Case: 1:O4-Cv-O3904 Document #: 178 Filed: 10/21/05 Page 11 of 13 Page|D #:1972

4. Mer]ene Wynn-Hieks, 1, and all immediate farnin members of Clm'stopher Hielcs, in
order to settle all possible claims of heirship, have agreed to the following split of the net
wrongful death proceeds of the settlement in this ease: 20% to Merlene Wynn-Hieks, 20% to the
decedent’s mother, Florence Hielcs, with the remaining 60% to be split evenly by Chn'stopher
l-lielcs’ eleven siblings and half-siblings, as reflected in the separate F amin Settlemcnt
Agreement.

5. Mcrlene Wynn-l-lielcs, 1, and all parties to the F amin Settlemcnt Agreement have
approved the attached Exhibit A list of litigation expenses and attorneys’ fees.

6. None of the decedeut’s next of kin or siblings are minors.

7. lrail final expenses and debts of the decedent have been paid or provided for.

FURTI-IER AFFIANT SAYETH NUT.

%/&/ ,/ée. aé%d/

]§illie Ray l_.ewis

Subscribed and sworn to before me
this _l‘ii:' day of October, 2005.

  
 
  

   
  

ubliCPHlLLlP L. eoi=FEY
NOTAHY PUBL|C STATE OF lLL|ND|S

seamans-wmng

Notary

   

 

 

 

 

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I`N THE UNITED STATES DISTRIC‘T CIJURT
FOR THE NDRTHERN DIBTRIC.'T DF ILLINOIE
EASTEB.N DIVIBIDN

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Dcfmdante.

 

l\¢.'lERLENE W¥NN-HIC‘.KS, being nm duly swore en cath, deposes end stat ca as
follows

l. lam the widow el:'Chi-istopher Hicke, who is the subject cfc magnet ¢`.eeth case
against the City cf mileage end certain police cmccrs- 1 nmeinmd Billic key Lewin,
Chzietcpitdt“ Hlel¢a’ bredter, fe bc the administrator clme hmbend’e cum and to pt :»aecute the
wmngli:l] death lawsuit against Chicago and the police officers involved in my bush-a nd's del¢t.h.

3. Btllic R.ay Lewis agreed tc accept the sum ef$$.£ million tc settle the wrongful
death l.-iwauit. end 1 approve cf this settlement

.'lt Certein mcmanus cf Cluistcphcr Hiclel' immediate family have raised issues cf
whethct"l am the proper heir-at-Izw nfChristopher Hicks. l deny that 1 am not the la rvfu.l widow
end heir chhriatephcr Hiclrs. chcvcr. in erderte avoid the risks md eurpmsee of titigatim,

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til/313 sees aa'ldeus prosecutors ar :cr cnw inv m-r

 

 

 

 

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md to settle any end all claims that l am net the proper heir cf Chrismpher l-Iiclrs, Ii¢sve
voluntarily agreed te the separate Family Scttlcmsnt Agrccment, wheran have speed to the
follw‘i.ng split of the net wronglitl. death proceeds of the settlement in this elliot 20%1;0 mys=lf.
20% tn the decedent's mothet‘, Florerloe Hicks, with the remaining 60% to be split e reply by
C.hrietepher I-l’icks’ eleven siblings md hel£sihlings, as reflected in the separate lien lily
Settlen:ttrnt A.greemcnt.

.S. there reviewed and l approve the attached Eithihit A list cf litigation expenses and
motor fees

a ft am aware thstBillie Rsyl`..ewis lies expended censidersbletime end ntfnrtin
prosecuting this lawsuit end it is my desire that he he paid m administrators fee in ithe mount
of 515,000.

l\URTHER AFFIAN'I‘ SAYE'I`H NDT.

 

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